Case 2:13-cv-07924-WJM-MF Document 13 Filed 02/06/14 Page 1 of 1 PageID: 72



                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY




HAROLD M. HOFFMAN,

                              Plaintiff,

                -against-
                                                      Docket No.: 13-cv-7924 (WJM) (MF)


CURT CLEMENS, ALTERN MARKETING,
LLC, and WHOLE BODY RESEARCH, LLC,


                              Defendants.




                                  NOTICE OF DISMISSAL

         Plaintiff, pursuant to Rule 41(a)(1)(A)(i), Fed. R. Civ. P., hereby dismisses the

within civil action, with prejudice, and without costs for either party as against the

other.

Dated: February 6, 2014
                                            s/ Harold M. Hoffman, Esq.
                                            Counsel for Plaintiff
                                            240 Grand Avenue
                                            Englewood, NJ 07631
                                            hoffman.esq@verizon.net
